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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

JULIA PYLANT, et al.,          §
                               §
            Plaintiffs,        §
                               §                           CIVIL ACTION NO.
v.                             §                           3:14-CV-00745-P
                               §
SOUTHERN METHODIST UNIVERSITY, §
et al.,                        §
                               §
            Defendants.        §


                     ORDER REQUIRING ATTORNEY CONFERENCE
                         AND PROPOSAL FOR CONTENTS OF
                       SCHEDULING AND DISCOVERY ORDER



        Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and the Court’s Civil

Justice Expense and Delay Reduction Plan, the Court enters this order to promote possible early

settlement of this action and to facilitate subsequent entry of a Scheduling and Discovery Order.


                                                          I.

        Lead counsel for each party (or a designee attorney with appropriate authority) shall

personally meet at a mutually agreeable location at least 14 days before the date specified in VII

of this order. Counsel shall determine in good faith whether this case can be settled before

additional expenses are incurred. Counsel shall also submit a Joint Proposal for Contents of

Scheduling and Discovery Order. The Joint Proposal shall include a status report setting out the

progress made at the meeting and the present status of settlement negotiations. (In a nonjury

case, the parties shall not disclose settlement figures.) The Parties shall also advise the Court

regarding the advisability of referring the cases for mediation.

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                                                          II.

        If the case does not settle, counsel shall submit a Joint Proposal that contains the

following:


        1) A proposed time limit to file motions for leave to join other parties and to amend the
           pleadings;

        2) Proposed time limits to file various types of motions;

        3) A proposed plan and schedule for discovery, including a time limit to complete
           discovery;

        4) A proposal for limitations, if any, to be placed upon discovery;

        5) A proposed time limit to designate expert witnesses;

        6) A proposed trial date, estimated number of days required for trial and whether a jury
           has been demanded;

        7) A proposed date for commencing settlement negotiations;

        8) Whether the Parties will consent to trial (jury or non-jury) before U.S. Magistrate
           Judge Renee Harris Toliver. (NOTE: Before responding to this question, counsel
           are directed to carefully review the provisions of 28 U.S.C.A. 636(c) and,
           specifically, 636(c)(3));

        9) Whether the Parties are considering mediation or arbitration to resolve this litigation
           and, if not, why not. (NOTE: The Court encourages the early use of mediation or
           arbitration.);

        10) Whether this action should be consolidated with the related action between the
            parties, Cuba v. Pylanta, No. 13-3670-P

        11) Any other proposals regarding scheduling and discovery that the Parties believe will
            facilitate expeditious and orderly preparation for trial, including the Parties’ positions
            on a consolidated discovery schedule; and

        12) Any other matters relevant to the status and disposition of this case.




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                                                          III.


        Lead counsel for Plaintiff is responsible for initiating contact with opposing counsel for

the purpose of preparing the Joint Proposal, but lead counsel for all Parties are equally

responsible for seeing that this Order is complied with in a timely manner. At least one counsel

for each Party shall sign the Joint Proposal prior to filing.


                                                          IV.


        If counsel cannot agree on a particular recommendation, the Proposal shall set forth each

Party’s respective recommendation and shall state why agreement could not be reached.


                                                          V.


        Because the Court is to enter a Scheduling Order “as soon as practicable, but in any event

within the earlier of 120 days after the any defendant has been served with the complaint or 90

days after any defendant has appeared,” any request for an extension of time to file the Joint

Proposal shall be viewed with disfavor and shall be denied absent a showing of good cause. See

Fed. R. Civ. P. 16(b)(2).


                                                          VI.


        Unless a scheduling conference is set by the Court or requested by a party, the

Scheduling and Discovery Order will be issued following the Court’s review of the Joint

Proposal. Once the Scheduling Order has been issued, requests for extensions of these

deadlines will be viewed with disfavor and will be denied, absent a showing of good cause.




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                                                      VII.


        The Parties’ Joint Proposal is due on April 6, 2015.


        SO ORDERED, this 6th day of March, 2015.




                                              JORGE A. SOLIS
                                              UNITED STATES DISTRICT JUDGE




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